Case 4:20-cv-02918 Document 75 Filed on 10/15/21 in TXSD Page 1 of 3

Gnited States Court of Appeals

United States Court of Appeals

United States Courts , i r @s Court ¢
Southern District of Texas for the Ff ttth Circutt FILED
FILED
October 15, 2021
October 15, 2021
Nathan Ochsner, Clerk of Court No. 21-20425 . Lyle oe

STEVEN HoTze; HoTZE HEALTH & WELLNESS CENTER; EDD
HENDEE; TASTE OF TEXAS RESTAURANT; PHYSICIANS
PREFERENCE PHARMACY INTERNATIONAL, L.L.C.; CURAM
HEALTH, L.L.C.,

Plaintiffs—Appellants,
versus
GREG ABBOTT; STATE OF TEXAS; TEXAS DEPARTMENT OF
STATE HEALTH SERVICES; PHIL WILSON; JOHN WILLIAM

HELLERSTEDT; BENTLEY NETTLES,

Defendants — Appellees.

 

Appeal from the United States District Court
for the Southern District of Texas
USDC No. 4:20-CV-2918

 

CLERK’S OFFICE:

Under Fep. R. App. P. 42(B), the appeal is dismissed as of October
15, 2021, pursuant to appellant’s motion.

 
Case 4:20-cv-02918 Document 75 Filed on 10/15/21 in TXSD Page 2 of 3
No. 21-20425

LYLE W. CAYCE
Clerk of the United States Court
of Appeals for the Fifth Circuit

Chrusuna Racha
By:
Christina C. Rachal, Deputy Clerk

 

ENTERED AT THE DIRECTION OF THE COURT

 
Case 4:20-cv-02918 Document 75 Filed on 10/15/21 in TXSD Page 3 of 3

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

October 15, 2021

Mr. Nathan Ochsner

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 21-20425 Hotze v. Abbott
USDC No. 4:20-CV-2918

Dear Mr. Ochsner,

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk
Chuustuna, Racha
By:
Christina C. Rachal, Deputy Clerk
504-310-7651

 

cc:
Mr. Matthew Tyler Bohuslav
Mr. Cody C. Coll
Ms. Courtney Brooke Corbello
Mr. Andrew Layton Schlafly
Mr. Jared Ryker Woodfill V

 
